                                                                                  THIS ORDER IS APPROVED.


                                                                                  Dated: July 18, 2022




                                                                                  _________________________________
                                                                                  Scott H. Gan, Bankruptcy Judge




                                   UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF ARIZONA


IN RE:                                                    )           CHAPTER 13 PROCEEDINGS
                                                          )
MAYRA ENID DIAZ RODRIGUEZ                                 )           CASE NO. 4:20-bk-07930-SHG
                                                          )
                                                          )           ORDER DISMISSING CASE
                                                          )
                                       DEBTOR


    Pursuant to Local Rules of Bankruptcy Procedure Rule 2084-15 entered in this case, the Trustee has filed a Motion
to Dismiss for Delinquent Plan Payments and Notice of Intent to Dismiss Case Without a Hearing, (hereinafter the
"Motion") alleging that the Debtor is delinquent in one or more of their plan payments. The Debtor having failed to (a)
cure the delinquency, (b) file a notice of conversion to Chapter 7, or (c) file a motion for moratorium, within 30 days from
the mailing of the Motion, and having determined that the Debtor was not current, the Trustee has lodged this order, and
good cause appearing,

    NOW THEREFORE, IT IS ORDERED THAT

    (A)    This case is dismissed and the Bankruptcy Noticing Center will give notice of the dismissal to all creditors ;

     (B)   A motion to vacate the order of dismissal consistent with Local Rule 2084-17 may be granted without a
           hearing if the Trustee approves the proposed order. If the Trustee does not approve, the request may be set
           for hearing upon the Debtor's motion.

     (C)   Pursuant to 28 U.S.C. Sec. 586(e)(2), the Trustee shall be paid her percentage fee from all payments received
           from the Debtor;
    (D)
           After payment of the Trustee's percentage fee, the Trustee will retain the Debtor's funds pending Court
           approval of the payment of administrative expenses to the Debtor's attorney. If the Debtor's Chapter 13 Plan
           contains an Application for Payment of Administrative Expenses to the Debtor's attorney and no party filed an
           objection to the Application, the Debtor's attorney may lodge an Order approving the Application within ten
           (10) days after the Court enters this Dismissal Order. Alternatively, the Debtor's attorney has ten days from
           the Court entering this Dismissal Order to file a separate fee application.

     (E) If the Court has entered a payroll deduction order of the Debtor's wages, then such order is vacated.


                                            SIGNED AND DATED ABOVE



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